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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA

 BILLY JOE AYERS                                        CIVIL ACTION NO. 2:18-CV-00289

 VERSUS                                                 JUDGE JAMES D. CAIN, JR.

 PACKAGING CORP OF AMERICA                              MAGISTRATE KATHLEEN KAY
 INC, ELITE INDUSTRIAL SERVICES
 INC AND ELITE SPECIALTY
 WELDING LLC


    STATEMENT OF MATERIAL FACTS AS TO WHICH THERE ARE NO GENUINE
                         ISSUES TO BE TRIED

          In accordance with LR 56.1, Local Civil Rules of the Federal District Court in and for the

 Western District of Louisiana, Defendant, Packaging Corporation of America (“PCA”), offers the

 following statement of material facts as to which there are no genuine issues to be tried.

     1. On February 8, 2017, an explosion occurred at a mill located in DeRidder, Louisiana

          (“DeRidder Mill”) operated by PCA (“DeRidder Incident”).1

     2. Billy Ayers was employed by and working for Elite Specialty Welding, LLC (“Elite”) at the

          DeRidder Mill on the day of the DeRidder Incident.2

     3. Elite was contracted by PCA to perform work at the DeRidder Mill, including the work

          being performed by Billy Ayers pursuant to a purchase order issued by PCA to Elite.3

     4. PCA’s purchase orders are issued subject to “PCA’s Terms and Conditions

          http://wwww.packagingcorp.com/doing-business-with-pca.”4

          1
              Petition, ¶ 2.
          2
              Record, Document 11-1, page 4 and Petition, ¶ 3.
          3
              Exhibit A, Declaration of Lori Smith, ¶¶ 6-14, Ex. A-5.
          4
              Exhibit A, Declaration of Lori Smith, ¶10, Ex. A-3.




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     5. PCA’s Terms and Conditions provide that PCA is the principal employer under the Act and

          that PCA is to be recognized as the statutory employer of Elite’s employees providing work

          and/or services to PCA.5

     6. The DeRidder Mill generates a product made from wood pulp—containerboard.6

     7. The work performed by Elite on February 8, 2017 at the DeRidder Mill was an integral part

          of or essential to the ability of PCA to generate its goods, products, or services--more

          specifically, containerboard.7

     8. Billy Ayers was PCA’s statutory employee on February 8, 2017.8



                                                  Respectfully submitted,

                                           BY: __/s/ Jeffrey A. Riggs____________
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                                                 JEFFREY A. RIGGS (#17770)
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                                                 America




          5
              Exhibit A, Declaration of Lori Smith, ¶ 10, Ex. A-3, § 9 SITE WORK, ¶3.
          6
              Exhibit C, Declaration of Stacy Miller, ¶¶ 2-6.
          7
              Exhibit C, Declaration of Stacy Miller, ¶¶ 2-6; Exhibit A, Declaration of Lori Smith, ¶¶
               6-12.
          8
              See footnotes 1 – 7.



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